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                          UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


   NIAZIE SABET,

                      Plaintiff,

   v.                                              Case No: 6:22-cv-2009-RBD-LHP

   BOYLAND AUTO ORLANDO, LLC,

                      Defendant




                                         ORDER
         This cause came on for consideration without oral argument on the following

   motion filed herein:

         MOTION: MOTION TO QUASH NON-PARTY SUBPOENA
                 (Doc. No. 28)

         FILED:       March 2, 2023



         THEREON it is ORDERED that the motion is DENIED without
         prejudice.

         The motion, which simply lists all of the non-party’s general and specific

   objections to the subpoena, fails to comply with Local Rules 1.08(a), 3.01(a), and

   3.01(g). The motion also does not explain why it was filed in this District. See Fed.

   R. Civ. P. 45(d)(3)(A) (noting that a motion to quash or modify a subpoena must be
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   filed in the “court for the district where compliance is required.”). The subpoena

   identifies the non-party’s location as Dover, Delaware, but the place of compliance

   is noted as “via e-mail to: mhiraldo@hiraldolaw.com (If physical location is

   required, please contact the undersigned to coordinate).”      Doc. No. 28-1, at 2.

   Thus, it is entirely unclear from the subpoena and from the motion the intended

   place of compliance, and accordingly, it is equally unclear whether this Court is the

   proper venue for a motion to quash.

         Any renewed motion must comply with all applicable Local Rules and

   provide, with citation to legal authority, an explanation as to why this Court is the

   appropriate venue to seek relief from the subpoena.

         DONE and ORDERED in Orlando, Florida on March 3, 2023.




   Copies furnished to:

   Counsel of Record
   Unrepresented Parties




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